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Document Description       Number        Pages With   Exemptions   Rationale For Exemptions
(Folders)                  of Pages      Redactions   Applied
Contract Award JlPCc-      149           Page 2       b(4)         b(4) on page 2 to redact "the fixed price for providing services for a
006 (California City,                    Page 12                   daily population of up to 2,189 inmates during a 36 month base price"
California) CCA                                                    because disclosure of the information would cause competitive harm to
                                                                   the submitter. The fixed price can be reverse engineered if any other
                                                                   unit price and the number of inmates housed in the facility in question
                                                                   are known. Therefore, any competitor who knows anyone price
                                                                   charged by CCA to BOP need only make an algebraic calculation to
                                                                   determine CCA's real prices.

                                                                   b(4) on page 2 to redact the "fixed price incremental unit price
                                                                   (FIUP)for "a maximum of 168,265 inmate days during the 36 month
                                                                   base period" because disclosure of the information would cause
                                                                   competitive harm to the submitter. The fixed incremental price (FIUP)
                                                                   can be reverse engineered if any other unit price and the number of
                                                                   inmates housed in the facility in question are known. Therefore, any
                                                                   competitor who knows anyone price charged by CCA to BOP need
                                                                   only make an algebraic calculation to determine CCA's real prices.

                                                                   b(4) on page 2 to redact the total of the fixed price and the FIUP
                                                                   because disclosure of the information would cause competitive harm to
                                                                   the submitter. The fixed price and the FIUP can be reverse engineered
                                                                   if any other unit price and the number of inmates housed in the facility
                                                                   in question are known. Therefore, any competitor who knows anyone
                                                                   price charged by CCA to BOP need only make an algebraic calculation
                                                                   to determine CCA's real prices.

                                                                   b(4) on page 2 to redact "the Monthly Contract Payment" because
                                                                   disclosure of the information would cause competitive harm to the


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                                     submitter. The monthly contract payment can be reverse engineered if
                                     any other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) on page 2 to redact "FIUP" because disclosure of the information
                                     would cause competitive harm to the submitter. The fixed incremental
                                     price (FIUP) can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) on page 2 to redact "Award Fee" because disclosure ofthe
                                     information would cause competitive harm to the submitter. The
                                     Award Fee can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) on page 12 to redact the "Fixed Price Operation 95%" for
                                     performance period Options 1 through 7 because disclosure of the
                                     information would cause competitive harm to the submitter. The
                                     revelation of unexercised options would undermine CCA's ability to
                                     compete in future procurements by giving its competitors information
                                     that would allow them to predict with near certainty the prices it would
                                     propose. If anyone of its several competitors learned of the prices it
                                     has offered via option to the BOP as an inducement to renewal, its
                                     competitors could easily and knowledgeably inform government actors
                                     that they could undercut its proposed prices.


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                                                               b(4) on page 12 to redact the "Incremental Unit Price Per Inmate Day"
                                                               for performance period Options 1 through 7 because disclosure of the
                                                               information would cause competitive harm to the submitter. The
                                                               incremental unit price per inmate day can be reverse engineered if any
                                                               other unit price and the number of inmates housed in the facility in
                                                               question are known. Therefore, any competitor who knows anyone
                                                               price charged by CCA to BOP need only make an algebraic calculation
                                                               to determine CCA's real prices.

CAR 5 Reeves Final           48           Page 41    b(6)      b(6) was applied on page 41 to redact the cellular, residence, pager,
Proposal Revision Part I                  Page 42              and/or business telephone numbers of the Warden, GEO Region Vice-
                                                               President, GEO Region Director and/or GEO Region Assistant
                                                               Director because disclosure of the telephone numbers would constitute
                                                               a clearly unwarranted invasion of personal privacy.

                                                               b(6) was applied on page 42 to redact the cellular, residence, and/or
                                                               business telephone numbers of the Associate Warden, Chief of
                                                               Security, Business Manager, Assistant Deputy Warden, CO III and
                                                               other staff because disclosure ofthe telephone numbers would
                                                               constitute a clearly unwarranted invasion of personal privacy.
CAR 5 Reeves Final           52           Page 48    b(7)(F)   b(7)(F) was applied on page 48 to redact security protocols and
Proposal Revision Part II                                      requirements as disclosure could reasonably be expected to endanger
                                                               the life or physical safety of any individuals knowing this information
                                                               could facilitate escapes by exposing both the strengths and weaknesses
                                                               of the security of the facility.
CAR 5 Reeves Offer and      460           Page 64    b(6)      b(6) was applied on page 64 to redact the date of birth of Reeves
Other                                     Page 301             County Judge and Commissioners for Precincts 1 through 4 because
                                                               disclosure of the date of birth of these officials would constitute a
                                                               clearly unwarranted invasion of personal privacy.

                                                               b(6) was applied on page 64 to redact the social security number of


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                                                         Reeves County Judge and Commissioners for Precincts 1 through 4
                                                         because disclosure of the social security number of these officials
                                                         would constitute a clearly unwarranted invasion of personal privacy.

                                                         b(6) was applied on page 301 to redact the date of birth of the
                                                         Chainnan and Chief Executive Officer; Vice Chainnan, President and
                                                         Chief Operations Officer, General Counsel; Senior Vice President of
                                                         Operations; Senior Vice President of Menta1 Health Services; Senior
                                                         Vice President and Chief Financial Officer; and Treasurer 4 because
                                                         disclosure of the date of birth of these officials would constitute a
                                                         clearly unwarranted invasion of personal privacy.

                                                         b(6) was applied on page 301 to redact the social security numbers of
                                                         the Chainnan and Chief Executive Officer; Vice Chainnan, President
                                                         and Chief Operations Officer, General Counsel; Senior Vice President
                                                         of Operations; Senior Vice President of Mental Health Services; Senior
                                                         Vice President and Chief Financial Officer; and Treasurer 4 because
                                                         disclosure of the social security numbers of these officials would
                                                         constitute a clearly unwarranted invasion of personal privacy.
CAR 6 CCA Offer Part I      37           Page 6   b(4)   b(4) was applied on page 6 to the Ramp Up Price for Base Year #1
                                         Page 7          because disclosure of the infonnation would cause competitive hann to
                                         Page 8          the submitter. The Ramp Up Price can be reverse engineered if any
                                         Page 9          other unit price and the number of inmates housed in the facility in
                                                         question are known. Therefore, any competitor who knows anyone
                                                         price charged by CCA to BOP need only make an algebraic calculation
                                                         to detennine CCA's real prices.

                                                         b(4) was applied on page 6 to the Monthly Operating Price for Base
                                                         Year #1 because disclosure ofthe infonnation would cause competitive
                                                         hann to the submitter. The monthly operating price can be reverse
                                                         engineered if any other unit price and the number of inmates housed in
                                                         the facility in question are known. Therefore, any competitor who


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                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the
                                                                   tht;: FIUP for Base Year #1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Base
                                     Year #2 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Base Year #3 because
                                                of the information would cause competitive harm to the
                                     disclosure ofthe
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #1 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor


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                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period #1 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA' s real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period # 1 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known, Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #2
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who


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                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor


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                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period #3 (Year 1)
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #3
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 7 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 7 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 7 to the Total Price for Option Period #3
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 8 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 8 to the Monthly Operating Price for Base
                                     Year # 1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 8 to the FIUP for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged



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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Total Price for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Monthly Operating Price for Base
                                     Year #2 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 8 to the FIUP for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was. applied on page 8 to the Total Price for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                                             comp~titor who knows anyone price charged
                                     known. Therefore, any competitor


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly price can be reverse engineered if
                                     any other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 8 to the FIUP for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Total Price for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who


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                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 8 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 8 to the Total Price for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #1 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the FIUP for Option Period # 1 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure ofthe infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 9 to the FIUP for Option Period #1 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who



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                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the information· would cause competitive harm to
                                     the submitter. The FIUP price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #2
                                     (Year 1) because disclosure ofthe information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor



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                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the FIUP for Option Period #3 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged


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                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #3
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 9 to the FruP for Option Period #3 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 9 to the Total Price for Option Period #3
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who


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                                                           knows anyone price charged by CCA to BOP need only make an
                                                           algebraic calculation to determine CCA's real prices.

CAR 6 CCA Offer Part        45            Page 2    b(6)   b(6) was applied on pages 2-3 to redact the date of birth of the Chief
II                                        Page 3           Executive Officer and President; Chief Development Officer and Vice
                                                           President; Chief Financial Officer and Executive Vice President; Chief
                                                           Corrections Officer and Executive Vice President; Chief Human
                                                           Resources Officer and Executive Vice President; Treasurer; and
                                                           Secretary.

                                                           b(6) was applied on pages 2-3 to redact the date ofthe social security
                                                           numbers of Chief Executive Officer and President; Chief Development
                                                           Officer and Vice President; Chief Financial Officer and Executive Vice
                                                           President; Chief Corrections Officer and Executive Vice President;
                                                           Chief Human Resources Officer and Executive Vice President;
                                                           Treasurer; and Secretary.
CAR 6 CCA Final             38            Page 1    b(4)   b(4) was applied on page 1 to redact the per diem rate charged by CCA
Proposal Revision                         Page 3           to the City of Eden because disclosure of the information would cause
                                          Page 4           competitive harm to the submitter. The per diem can be reverse
                                          Page 5           engineered if any other unit price and the number of inmates housed in
                                          Page 6           the facility in question are known. Therefore, any competitor who
                                          Page 21          knows anyone price charged by CCA to BOP need only make an
                                          Page 22          algebraic calculation to determine CCA's real prices.
                                          Page 23
                                          Page 26          b(4) was applied on page 3 to the Ramp Up Price for Base Year #1
                                          Page 27          because disclosure of the information would cause competitive harm to
                                          Page 28          the submitter. The ramp up price can be reverse engineered if any
                                          Page 29          other unit price and the number of inmates housed in the facility in
                                          Page 30          question are known. Therefore, any competitor who knows anyone
                                          Page 31          price charged by CCA to BOP need only make an algebraic calculation
                                          Page 34          to determine CCA's real prices.
                                          Page 36


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                                 Page 37   b(4) was applied on page 3 to the Monthly Operating Price for Base
                                           Year #1 because disclosure of the information would cause competitive
                                           harm to the submitter. The monthly operating price can be reverse
                                           engineered if any other unit price and the number of inmates housed in
                                           the facility in question are known. Therefore, any competitor who
                                           knows anyone price charged by CCA to BOP need only make an
                                           algebraic calculation to determine CCA's real prices.

                                           b(4) was applied on page 3 to the FIUP for Base Year #1 because
                                           disclosure of the information would cause competitive harm to the
                                           submitter. The FIUP can be reverse engineered if any other unit price
                                           and the number of inmates housed in the facility in question are
                                           known. Therefore, any competitor who knows anyone price charged
                                           by CCA to BOP need only make an algebraic calculation to determine
                                           CCA's real prices.

                                           b(4) was applied on page 3 to the Total Price for Base Year #1 because
                                           disclosure of the information would cause competitive harm to the
                                           submitter. The total price can be reverse engineered if any other unit
                                           price and the number of inmates housed in the facility in question are
                                           known. Therefore, any competitor who knows anyone price charged
                                           by CCA to BOP need only make an algebraic calculation to determine
                                           CCA's real prices.

                                           b(4) was applied on page 3 to the Monthly Operating Price for Base
                                           Year #2 because disclosure of the information would cause competitive
                                           harm to the submitter. The monthly operating price can be reverse
                                           engineered if any other unit price and the number of inmates housed in
                                           the facility in question are known. Therefore, any competitor who
                                           knows anyone price charged by CCA to BOP need only make an
                                           algebraic calculation to determine CCA's real prices.




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                                     b(4) was applied on page 3 to the FIUP for Base Year #2 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 3 to the Total Price for Base Year #2 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 3 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the infonnation would cause competitive
                                     hann to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 3 to the FIUP for Base Year #3 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.




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                                     b(4) was applied on page 3 to the Total Price for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 3 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 3 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 3 to the Total Price for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.




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                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                     Period #1 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the FIUP for Option Period #1 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 4 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.



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                                     b(4) was applied on page 4 to the FIUP for Option Period #1 (Year 2)
                                     because disclosure of the information
                                                               infonnation would cause competitive hann
                                                                                                     harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                                                                                  detennine
                                     CCA's real prices.

                                     b(4) was applied on page 4 to the Total Price for Option Period #1
                                                                         infonnation would cause
                                     (Year 2) because disclosure of the information
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                                               detennine CCA's real prices.
                                     algebraic calculation to determine

                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                                                                   infonnation would cause
                                     Period #2 (Year I) because disclosure of the information
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                                               detennine CCA's real prices.
                                     algebraic calculation to determine

                                     b(4) was applied on page 4 to the FIUP for Option Period #2 (Year 1)
                                                               infonnation would cause competitive hann
                                     because disclosure of the information                           harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                                                                                  detennine
                                     CCA's real prices.




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                                     b(4) was applied on page 4 to the Total Price for Option Period #2
                                     (Year I) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 4 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.




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                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                     Period #3 (Year I) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the FIUP for Option Period #3 (Year I)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 4 to the Total Price for Option Period #3
                                     (Year I) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 4 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.




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                                     b(4) was applied on page 4 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 4 to the Total Price for Option Period #3
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 5 to the Monthly Operating Price for Base
                                     Year # 1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.




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                                      b(4) was applied on page 5 to the FIUP for Base Year # 1 because
                                      disclosure of the information would cause competitive harm to the
                                      submitter. The FIUP can be reverse engineered if any other unit price
                                      and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to determine
                                      CCA's real prices.

                                      b(4) was applied on page 5 to the Total Price for Base Year #1 because
                                      disclosure of the information would cause competitive harm to the
                                      submitter. The total price can be reverse engineered if any other unit
                                      price and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to determine
                                      CCA's real prices.

                                      b(4) was applied on page 5 to the Monthly Operating Price for Base
                                      Year #2 because disclosure of the information would cause competitive
                                      harm to the submitter. The monthly operating price can be reverse
                                      engineered if any other unit price and the number of inmates housed in
                                      the facility in question are known. Therefore, any competitor who
                                      knows anyone price charged by CCA to BOP need only make an
                                      algebraic calculation to determine CCA's real prices.

                                      b(4) was applied on page 5 to the FIUP for Base Year #2 because
                                                 ofthe
                                      disclosure ofthe information would cause competitive harm to the
                                      submitter. The FIUP can be reverse engineered if any other unit price
                                      and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to determine
                                      CCA's real prices.




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                                     b(4) was applied on page 5 to the Total Price for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 5 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to the FIUP for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 5 to the Total Price for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.




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                                     b(4) was applied on page 5 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 5 to the Total Price for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The total price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Option
                                     Period #1 (Year 1) because disclosure ofthe information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.




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                                     b(4) was applied on page 6 to the FIUP for Option Period # 1 (Year 1)
                                     because disclosure of the infonnation would cause competitive harm
                                                                                                     hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the infonnation would cause
                                                   harm to the submitter. The total price can be reverse
                                     competitive hann
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Option Period #1 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann
                                                                                                     harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.



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                                     b(4) was applied on page 6 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.
                                     b(4) was applied on page 6 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation todetennine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Option Period #2
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Option


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                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FiliP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FiliP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Option Period #3 (Year 1)


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Option Period #3
                                     (Year I) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 6 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 6 to the Total Price for Option Period #3


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                                         (Year 2) because disclosure of the infonnation would cause
                                         competitive hann to the submitter. The total price can be reverse
                                         engineered if any other unit price and the number of inmates housed in
                                         the facility in question are known. Therefore, any competitor who
                                         knows anyone price charged by CCA to BOP need only make an
                                         algebraic calculation to detennine CCA's real prices.

                                         b(4) was applied on page 21 to the Ramp Up Price for Base Year #1
                                         because disclosure of the infonnation would cause competitive hann to
                                         the submitter. The ramp up price can be reverse engineered if any
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                                         other unit price and the number of inmates housed in the facility in
                                         question are known. Therefore, any competitor who knows anyone
                                         price charged by CCA to BOP need only make an algebraic calculation
                                         to detennine CCA's real prices.

                                         b(4) was applied on page 21 to the Monthly Operating Price for Base
                                         Year # 1 because disclosure of the infonnation would cause competitive
                                         hann to the submitter. The monthly operating price can be reverse
                                         engineered if any other unit price and the number of inmates housed in
                                         the facility in question are known. Therefore, any competitor who
                                         knows anyone price charged by CCA to BOP need only make an
                                         algebraic calculation to detennine CCA's real prices.

                                         b(4) was applied on page 21 to the FIUP for Base Year # 1 because
                                         disclosure of the infonnation would cause competitive harm to the
                                         submitter. The FIUP can be reverse engineered if any other unit price
                                         and the number of inmates housed in the facility in question are
                                         known. Therefore, any competitor who knows anyone price charged
                                         by CCA to BOP need only make an algebraic calculation to detennine
                                         CCA's real prices.

                                         b(4) was applied on page 21 to the Total Price for Base Year #1


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 21 to the Monthly Operating Price for Base
                                     Year #2 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 21 to the FIUP for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 21 to the Total Price for Base Year #2
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 21 to the Monthly Operating Price for Base


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                                     Year #3 because disclosure of the infonnation would cause competitive
                                     hann to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 21 to the FIUP for Base Year #3 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 21 to the Total Price for Base Year #3
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     detennine CCA's real prices.

                                     b(4) was applied on page 21 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the infonnation would cause competitive
                                     hann to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 21 to the FIUP for Base Year #4 because


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                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 21 to the Total Price for Base Year #4
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     detennine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option
                                     Period #1 (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #1 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 22 to the Total Price for Option Period #1


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                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #1 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 22 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option


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                                     Period #2 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 22 to the Total Price for Option Period #2
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #2 (Year 2)


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 22 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #3 (Year 1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 22 to the Total Price for Option Period #3



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                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 22 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 22 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 23 to the Ramp Up Price for Base Year #1
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to detennine CCA's real prices.

                                     b(4) was applied on page 23 to the Monthly Operating Price for Base


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                                     Year #1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 23 to the FIUP for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 23 to the Total Price for Base Year # 1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 26 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 26 to the Monthly Operating Price for Base



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                                     Year #1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 26 to the FIUP for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 26 to the Total Price for Base Year # 1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 26 to the Monthly Operating Price for Base
                                     Year #2 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 26 to the FIUP for Base Year #2 because



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                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 26 to the Total Price for Base Year #2
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 26 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the infonnation would cause competitive
                                     hann to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 26 to the FIUP for Base Year #3 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 26 to the Total Price for Base Year #3


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 26 to the Monthly Operating Price for Base
                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 26 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 26 to the Total Price for Base Year #4
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option


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                                     Period #1 (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #1 (Year 1)
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure ofthe infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #1 (Year 2)


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                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #2


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                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option



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                                     Period #3 (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #3 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #3
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the infonnation would cause
                                     competitive harm to the submitter.. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 27 to the FIUP for Option Period #3 (Year 2)



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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 27 to the Total Price for Option Period #3
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 28 to the Ramp Up Price for Base Year # 1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 28 to the Monthly Operating Price for Base
                                     Year # 1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 28 to the FIUP for Base Year #1 because


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                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 28 to the Total Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 28 to the Monthly Operating Price for Base
                                     Year #2 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 28 to the FIUP for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 28 to the Total Price for Base Year #2


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 28 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 28 to the FIUP for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 28 to the Total Price for Base Year #3
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 28 to the Monthly Operating Price for Base



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                                     Year #4 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 28 to the FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 28 to the Total Price for Base Year #4
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option
                                     Period # 1 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the FIUP for Option Period #1 (Year 1)


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #1
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option
                                     Period #1 (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the FIUP for Option Period #1 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #1


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                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the FIDP for Option Period #2 (Year I)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #2
                                     (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option



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                                     Period #2 (Year2) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FiUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 29 to the FIUP for Option Period #3 (Year 1)



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                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #3
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 29 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 29 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 29 to the Total Price for Option Period #3


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                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 30 to the Ramp Up Price for Base Year #1
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The ramp up can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 30 to the Monthly Operating Price for Base
                                     Year # 1 because disclosure of the infonnation would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 30 to the FIUP for Base Year # 1 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 30 to the Total Price for Base Year #1


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                                     because disclosure of the information would cause competitive hann
                                                                                                     harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 31 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 31 to the Monthly Operating Price for Base
                                     Year #1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                                               detennine CCA's real prices.
                                     algebraic calculation to determine

                                     b(4) was applied on page 31 to the FIUP for Base Year #1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP price can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged '
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 31 to the Total Price for Base Year # 1I


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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 34 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 34 to the Monthly Operating Price for Base
                                     Year #1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 34 to the FIUP for Base Year #1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 34 to the Total Price for Base Year #1


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                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     detennine CCA's real prices.

                                     b(4) was applied on page 36 to the Ramp Up Price for Base Year #1
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The ramp up price can be reverse engineered if any         -

                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 36 to the Monthly Operating Price for Base
                                     Year #1 because disclosure of the infonnation would cause competitive
                                     hann to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 36 to the FIUP for Base Year #1 because
                                     disclosure of the infonnation would cause competitive hann to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 36 to the Total Price for Base Year #1



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                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.
                                     b(4) was applied on page 37 to the Ramp Up Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The ramp up price can be reverse engineered if any
                                     other unit price and the number of inmates housed in the facility in
                                     question are known. Therefore, any competitor who knows anyone
                                     price charged by CCA to BOP need only make an algebraic calculation
                                     to determine CCA's real prices.

                                     b(4) was applied on page 37 to the Monthly Operating Price for Base
                                     Year #1 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 37 to the FIUP for Base Year # 1 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 37 to the Total Price for Base Year #1
                                     because disclosure of the information would cause competitive harm to


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                                                           the submitter. The total price can be reverse engineered if any other
                                                           unit price and the number of inmates housed in the facility in question
                                                           are known. Therefore, any competitor who knows anyone price
                                                           charged by CCA to BOP need only make an algebraic calculation to
                                                           determine CCA's real prices.
Cibola Tab A Contract       130           Page 3    b(4)   b(4) on page 3 to redact "the fixed price for providing services for a
(CCA)                                     Page 14          daily population of up to 961 inmates during a 36 month base price"
                                                           because disclosure of the information would cause competitive harm to
                                                           the submitter. The fixed price can be reverse engineered if any other
                                                           unit price and the number of inmates housed in the facility in question
                                                           are known. Therefore, any competitor who knows anyone price
                                                           charged by CCA to BOP need only make an algebraic calculation to
                                                           determine CCA's real prices.

                                                           b(4) on page 3 to redact the fixed incremental unit price (FIUP) when
                                                           the FIUP is "applied to a maximum of 74,095 days during the 36
                                                           month base period" because disclosure of the information would cause
                                                           competitive harm to the submitter. The FIUP can be reverse
                                                           engineered if any other unit price and the number of inmates housed in
                                                           the facility in question are known. Therefore, any competitor who
                                                           knows anyone price charged by CCA to BOP need only make an
                                                           algebraic calculation to determine CCA's real prices.

                                                           b(4) on page 3 to redact the total of the fixed price and the FIUP
                                                           because disclosure of the information would cause competitive harm to
                                                           the submitter. The total price can be reverse engineered if any other
                                                           unit price and the number of inmates housed in the facility in question
                                                           are known. Therefore, any competitor who knows anyone price
                                                           charged by CCA to BOP need only make an algebraic calculation to
                                                           determine CCA's real prices.

                                                           b(4) on page 3 to redact the total ofthe monthly contract payment


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                                                         because disclosure of the infonnation would cause competitive hann to
                                                         the submitter. The monthly contract payment can be reverse
                                                         engineered if any other unit price and the number of inmates housed in
                                                         the facility in question are known. Therefore, any competitor who
                                                         knows anyone price charged by CCA to BOP need only make an
                                                         algebraic calculation to detennine CCA's real prices.

                                                         b(4) on page 14 to redact "the fixed price for providing services for a
                                                         daily population of up to 961 inmates during a 36 month base price"
                                                         because disclosure of the infonnation would cause competitive hann to
                                                         the submitter. The fixed price can be reverse engineered if any other
                                                         unit price and the number of inmates housed in the facility in question
                                                         are known. Therefore, any competitor who knows anyone price
                                                         charged by CCA to BOP need only make an algebraic calculation to
                                                         detennine CCA's real prices.

                                                         b(4) on page 14 to redact the fixed incremental unit price (FIUP) when
                                                         the FIUP is "applied to a maximum of 74,095 days during the 36
                                                         month base period" because disclosure of the infonnation would cause
                                                         competitive hann to the submitter. The FIUP can be reverse
                                                         engineered if any other unit price and the number of inmates housed in
                                                         the facility in question are known. Therefore, any competitor who
                                                         knows anyone price charged by CCA to BOP need only make an
                                                         algebraic calculation to detennine CCA's real prices.


Cornell Offer Part XIV     43            Page 8   b(6)   b(6) was applied on page 8 to redact the date of birth of the Chief
                                         Page 9          Executive Officer and President and Chief Financial Officer because
                                                         disclosure of the date of birth of these officials would constitute a
                                                         clearly unwarranted invasion of personal privacy.

                                                         b(6) was applied on page 9 to redact the date of birth of the General


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                                                            Counsel and Corporate Secretary; Senior Vice President and Chief
                                                            Administrative Officer; Vice President (Adult Secure Division); and
                                                            Vice President (Corporate Development) because disclosure of the date
                                                            of birth of these officials would constitute a clearly unwarranted
                                                            invasion of personal privacy.
Cornell Offer Part VII       130          Page 91    b(7)   b(7)(F) was applied on pages 91-93 to redact the "Security Equipment
                                          Page 92           And Systems Inspection" Memorandum ofD. Ray James State Prison
                                          Page 93           as disclosure could reasonably be expected to endanger the life or
                                          Page121           physical safety of any individuals knowing this information could
                                          Page 122          facilitate escapes by exposing both the strengths and weaknesses of the
                                                            security of the facility.

                                                            b(7)(F) was applied on pages 121-122 to redact the architectural
                                                            drawings showing the construction of for building D ofthe D. Ray
                                                            James State Prison as disclosure could reasonably be expected to
                                                            endanger the life or physical safety of any individuals knowing this
                                                            information could facilitate escapes by exposing both the strengths and
                                                            weaknesses of the security of the facility.
Eden (CCA)                   215          Page 55    b(4)   b(4) was applied on page 55 to the Ramp Up Price for Base Year #1
                                          Page 56           because disclosure of the information would cause competitive harm to
                                          Page 57           the submitter. The ramp up price can be reverse engineered if any
                                                            other unit price and the number of inmates housed in the facility in
                                                            question are known. Therefore, any competitor who knows anyone
                                                            price charged by CCA to BOP need only make an algebraic calculation
                                                            to determine CCA's real prices.

                                                            b(4) was applied on page 55 to the Monthly Operating Price for Base
                                                            Year #1 because disclosure of the information would cause competitive
                                                            harm to the submitter. The monthly operating price can be reverse
                                                            engineered if any other unit price and the number of inmates housed in
                                                            the facility in question are known. Therefore, any competitor who
                                                            knows anyone price charged by CCA to BOP need only make an


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                                      algebraic calculation to detennine CCA's real prices.

                                      b(4) was applied on page 55 to the FIUP for Base Year #1 because
                                      disclosure of the infonnation would cause competitive hann
                                                                                             harm to the
                                      submitter. The FIUP can be reverse engineered if any other unit price
                                      and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to detennine
                                      CCA's real prices.

                                      b( 4) was applied on page 55 to the Total Price for Base Year ##1I
                                      b(4)
                                      because disclosure of the infonnation would cause competitive hann harm to
                                      the submitter. The total price can be reverse engineered if any other
                                      unit price and the number of inmates housed in the facility in question
                                      are known. Therefore, any competitor who knows anyone price
                                      charged by CCA to BOP need only make an algebraic calculation to
                                      detennine CCA's real prices.

                                      b(4) was applied on page 55 to the Monthly Operating Price for Base
                                      Year #2 because disclosure of the infonnation would cause competitive
                                      hann to the submitter. The monthly operating price can be reverse
                                      engineered if any other unit price and the number of inmates housed in
                                      the facility in question are known. Therefore, any competitor who
                                      knows anyone price charged by CCA to BOP need only make an
                                      algebraic calculation to detennine CCA's real prices.

                                      b(4) was applied on page 55 to the FIUP for Base Year #2 because
                                                                                             hann to the
                                      disclosure of the infonnation would cause competitive harm
                                      submitter. The FIUP can be reverse engineered if any other unit price
                                      and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to detennine


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                                     CCA's real prices.

                                     b(4) was applied on page 55 to the Total Price for Base Year #2
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to
                                     determine CCA's real prices.

                                     b(4) was applied on page 55 to the Monthly Operating Price for Base
                                     Year #3 because disclosure of the information would cause competitive
                                     harm to the submitter. The monthly operating price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 55 to the FIUP for Base Year #3 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The FIUP can be reverse engineered if any other unit price
                                     and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 55 to the Total Price for Base Year #3
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The total price can be reverse engineered if any other
                                     unit price and the number of inmates housed in the facility in question
                                     are known. Therefore, any competitor who knows anyone price
                                     charged by CCA to BOP need only make an algebraic calculation to


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                                      detennine CCA's real prices.

                                      b(4) was applied on page 55 to the Monthly Operating Price for Base
                                      Year #4 because disclosure of the infonnation would cause competitive
                                      hann to the submitter. The monthly operating price can be reverse
                                      engineered if any other unit price and the number of inmates housed in
                                      the facility in question are known. Therefore, any competitor who
                                      knows anyone price charged by CCA to BOP need only make an
                                      algebraic calculation to detennine CCA's real prices.

                                      b(4) was applied on page 55 to the FIUP for Base Year #4 because
                                      disclosure of the infonnation would cause competitive hann to the
                                      submitter. The FIUP can be reverse engineered if any other unit price
                                      and the number of inmates housed in the facility in question are
                                      known. Therefore, any competitor who knows anyone price charged
                                      by CCA to BOP need only make an algebraic calculation to detennine
                                      CCA's real prices.

                                      b(4) was applied on page 55 to the Total Price for Base Year #4
                                      because disclosure of the infonnation would cause competitive hann to
                                      the submitter. The total price can be reverse engineered if any other
                                      unit price and the number of inmates housed in the facility in question
                                      are known. Therefore, any competitor who knows anyone price
                                      charged by CCA to BOP need only make an algebraic calculation to
                                      detennine CCA's real prices.

                                      b(4) was applied on page 56 to the Monthly Operating Price for Option
                                      Period # 1 (Year 1) because disclosure of the infonnation would cause
                                      competitive hann to the submitter. The monthly operating price can be
                                      reverse engineered if any other unit price and the number of inmates
                                      housed in the facility in question are known. Therefore, any competitor
                                      who knows anyone price charged by CCA to BOP need only make an



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                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 56 to the FIDP for Option Period #1 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.

                                     b(4) was applied on page 56 to the Total Price for Option Period #1
                                     (Year I) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the Monthly Operating Price for Option
                                     Period # 1 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the FIDP for Option Period #1 (Year 2)
                                     because disclosure of the infonnation would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine


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                                     CCA's real prices.

                                     b(4) was applied on page 56 to the Total Price for Option Period #1
                                     (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the Monthly Operating Price for Option
                                     Period #2 (Year 1) because disclosure of the infonnation would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the FIUP for Option Period #2 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 56 to the Total Price for Option Period #2
                                     (Year 1) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an


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                                     algebraic calculation to determine CCA's real prices.
                                     b(4) was applied on page 56 to the Monthly Operating Price for Option
                                     Period #2 (Year2) because disclosure ofthe information would cause
                                     competitive harm to the submitter. The monthly operating can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 56 to the FIUP for Option Period #2 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 56 to the Total Price for Option Period #2
                                     (Year 2) because disclosure of the information would cause
                                     competitive harm to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 56 to the Monthly Operating Price for Option
                                     Period #3 (Year 1) because disclosure of the information would cause
                                     competitive harm to the submitter. The monthly operating price can be
                                     reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.


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                                     b(4) was applied on page 56 to the FIUP for Option Period #3 (Year 1)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to determine
                                     CCA's real prices.

                                     b(4) was applied on page 56 to the Total Price for Option Period #3
                                     (Year 1) because disclosure ofthe infonnation would cause
                                     competitive hann to the submitter. The total price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the Monthly Operating Price for Option
                                     Period #3 (Year 2) because disclosure of the infonnation would cause
                                     competitive hann to the submitter. The monthly price can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to detennine CCA's real prices.

                                     b(4) was applied on page 56 to the FIUP for Option Period #3 (Year 2)
                                     because disclosure of the infonnation would cause competitive hann to
                                     the submitter. The FIUP can be reverse engineered if any other unit
                                     price and the number of inmates housed in the facility in question are
                                     known. Therefore, any competitor who knows anyone price charged
                                     by CCA to BOP need only make an algebraic calculation to detennine
                                     CCA's real prices.
                                     b(4) was applied on page 57 to the Ramp Up Price for Base Year #1


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                                                         because disclosure of the infonnation would cause competitive hann to
                                                         the submitter. The ramp up price can be reverse engineered if any
                                                         other unit price and the number of inmates housed in the facility in
                                                         question are known. Therefore, any competitor who knows anyone
                                                         price charged by CCA to BOP need only make an algebraic calculation
                                                         to detennine CCA's real prices.

                                                         b(4) was applied on page 57 to the Monthly Operating Price for Base
                                                         Year #1 because disclosure of the infonnation would cause competitive
                                                         hann to the submitter. The monthly price can be reverse engineered if
                                                         any other unit price and the number of inmates housed in the facility in
                                                         question are known. Therefore, any competitor who knows anyone
                                                         price charged by CCA to BOP need o:Qly make an algebraic calculation
                                                         to detennine CCA's real prices.

                                                         b(4) was applied on page 57 to the FIUP for Base Year #1 because
                                                         disclosure of the infonnation would cause competitive harm to the
                                                         submitter. The FIUP can be reverse engineered if any other unit price
                                                         and the number of inmates housed in the facility in question are
                                                         known. Therefore, any competitor who knows anyone price charged
                                                         by CCA to BOP need only make an algebraic calculation to detennine
                                                         CCA's real prices.

                                                         b(4) was applied on page 57 to the Total Price for Base Year #1
                                                         because disclosure of the infonnation would cause competitive hann to
                                                         the submitter. The total price can be reverse engineered if any other
                                                         unit price and the number of inmates housed in the facility in question
                                                         are known. Therefore, any competitor who knows anyone price
                                                         charged by CCA to BOP need only make an algebraic calculation to
                                                         detennine CCA's real prices.
Evaluations                40            Page 1   b(4)   Infonnation related to unsuccessful bidders on page 1 was redacted as
                                         Page 2   Non-   it is non-responsive as the FOIA request sought infonnation


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                                 Page 3    Responsive   concerning successful bidders.
                                 Page 4    b(7)
                                 PageS                  b(4) was applied on page 1 to redact the Per Diems rates for
                                 Page 6                 Youngstown, IGE, Cal City, Cibola, Winton, and Philipsburg because
                                 Page 7                 disclosure of the information would cause competitive harm to the
                                 Page 8                 submitter. The per diem rates can be reverse engineered if any other
                                 Page 10                unit price and the number of inmates housed in the facility in question
                                 Page 11                are known. Therefore, any competitor who knows anyone price
                                 Page 12                charged by CCA to BOP need only make an algebraic calculation to
                                 Page 13                determine CCA's real prices.
                                 Page 14
                                 Page 15                Information related to unsuccessful bidders on page 2 was redacted as
                                 Page 16                it is non-responsive as the FOIA request sought information
                                 Page 21                concerning successful bidders.
                                 Page 23
                                 Page 24                Information related to unsuccessful bidders on page 3 was redacted as
                                 Page 25                it is non-responsive as the FOIA request sought information
                                 Page 27                concerning successful bidders.
                                 Page 29
                                 Page 30                Information related to unsuccessful bidders on page 4 was redacted as
                                 Page 31                it is non-responsive as the FOIA request sought information
                                 Page 32                concerning successful bidders.
                                 Page 33
                                                        b(4) was applied on page 4 to redact the blended Per Diem rate of
                                                        Reeves because disclosure of the information would cause competitive
                                                        harm to the submitter. The per diem rates can be reverse engineered if
                                                        any other unit price and the number of inmates housed in the facility in
                                                        question are known. Therefore, any competitor who knows anyone
                                                        price charged by CCA to BOP need only make an algebraic calculation
                                                        to determine CCA's real prices.

                                                        b(4) was applied on page 5 to redact the Ramp Up Price for first 3


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                                     months; Ramp Up Price for the remaining 9 months; and the FIUP
                                     price for 9 month period for Reeves. The ramp up price and FIUP can
                                     be reverse engineered if any other unit price and the number of inmates
                                     housed in the facility in question are known. Therefore, any competitor
                                     who knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to redact the Ramp Up Price; Annual
                                     Operating Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100%
                                     Per Diem rate; 115% Per Diem rate; and FIUP for Base Year #1 (3
                                     Month Period) because disclosure of the information would cause
                                     competitive harm to the submitter. The ramp up price, annual
                                     operating price, total price, FIUP and per diem rate can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to redact the Ramp Up Price; Annual
                                     Operating Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100%
                                     Per Diem rate; 115% Per Diem rate; and FIUP for Base Year # 1 (9
                                     Month Period) because disclosure of the information would cause
                                     competitive harm to the submitter. The ramp up price, annual
                                     operating price, FIUP, total price and per diem rate can be reverse
                                     engineered if any other unit price and the number of inmates housed in
                                     the facility in question are known. Therefore, any competitor who
                                     knows anyone price charged by CCA to BOP need only make an
                                     algebraic calculation to determine CCA's real prices.
                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Base Year #2 because
                                     disclosure of the information would cause competitive harm to the



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                                     submitter. The MOP, annual operating price, FIUP, total price and per
                                     diem rate be reverse engineered if any other unit price and the number
                                     of inmates housed in the facility in question are known. Therefore, any
                                     competitor who knows anyone price charged by CCA to BOP need
                                     only make an algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Base Year #3 because·
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The MOP, annual operating price, FIUP, total price, and per
                                     diem can be reverse engineered if any other unit price and the number
                                     of inmates housed in the facility in question are known. Therefore, any
                                     competitor who knows anyone price charged by CCA to BOP need
                                     only make an algebraic calculation to determine CCA's real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Base Year #4 because
                                     disclosure of the information would cause competitive harm to the
                                     submitter. The MOP, annual operating price, FIUP, total price, and per
                                     diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #1 (Yearl)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The MOP, annual operating price, FIUP, total price, and


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                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #1 (Year 2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The MOP, annual operating price, FIUP, total price, and
                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #2 (Year1)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The MOP, annual operating price, FIUP, total price, and
                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #2 (Year2)
                                     because disclosure of the information would cause competitive harm to


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                                     the submitter. The MOP, annual operating price, FIUP, total price, and
                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on page 5 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #3 (Yearl)
                                     because disclosure of the information would Cause competitive harm to
                                     the submitter. The MOP, annual operating price, FIUP, total price, and
                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     b(4) was applied on pages 5-6 to redact the MOP; Annual Operating
                                     Price; FIUP to 115%; Total Price; 90 Per Diem rate; 100% Per Diem
                                     rate; 115% Per Diem rate; and FIUP for Option Period #3 (Year2)
                                     because disclosure of the information would cause competitive harm to
                                     the submitter. The MOP, annual operating price, FIUP, total price, and
                                     per diem rate can be reverse engineered if any other unit price and the
                                     number of inmates housed in the facility in question are known.
                                     Therefore, any competitor who knows anyone price charged by CCA
                                     to BOP need only make an algebraic calculation to determine CCA's
                                     real prices.

                                     Information related to unsuccessful bidders on page 7 was redacted as
                                     it is non-responsive as the FOIA request sought information
                                     concerning successful bidders.


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                                    Infonnation related to unsuccessful bidders on page 8 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 10 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 11 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 12 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.


                                    Infonnation related to unsuccessful bidders on page 13 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 14 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 15 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation
                                    concerning successful bidders.

                                    Infonnation related to unsuccessful bidders on page 16 was redacted as
                                    it is non-responsive as the FOIA request sought infonnation


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                                     concerning successful bidders.

                                     b(7)(F) was applied on page 21 to redact the weaknesses and
                                     deficiencies of the physical plant of Reeves as disclosure could
                                     reasonably be expected to endanger the life or physical safety of any
                                     individuals knowing this infonnation could facilitate escapes by
                                     exposing both the strengths and weaknesses of the security of the
                                     facility.

                                     Infonnation related to unsuccessful bidders on page 23 was redacted as
                                     it is non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.

                                     Infonnation related to unsuccessful bidders on page 24 was redacted as
                                     it is non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.

                                     Infonnation related to unsuccessful bidders on page 25 was redacted as
                                     it was non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.

                                     Infonnation related to unsuccessful bidders on page 27 was redacted as
                                     it is non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.

                                     Infonnation related to unsuccessful bidders on page 29 was redacted as
                                     it is non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.

                                     Infonnation related to unsuccessful bidders on page 30 was redacted as
                                     it is non-responsive as the FOIA request sought infonnation
                                     concerning successful bidders.



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                                  of Prisons
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                                                           Information related to unsuccessful bidders on page 31 was redacted as
                                                           it is non-responsive as the FOIA request sought information
                                                           concerning successful bidders.

                                                           Information related to unsuccessful bidders on page 32 was redacted as
                                                           it is non-responsive as the FOIA request sought information
                                                           concerning successful bidders.

                                                           b(4) was applied on page 33 to redact the price evaluation of CCA;
                                                           MTC; Reeve's County; Cornell and LCS because disclosure ofthe of the
                                                           information would cause competitive harm to the submitter. The price
                                                           evaluations can be reverse engineered if any other unit price and the
                                                           number of inmates housed in the facility in question are known.
                                                           Therefore, any competitor who knows anyone price charged by CCA
                                                           to BOP need only make an algebraic calculation to determine CCA's
                                                           real prices.

                                                           b(4) was applied on page 33 to redact the Per Diems rates for
                                                           Youngstown, IGE, Cal City, Cibola, Winton, and Philipsburg because
                                                           disclosure of the information would cause competitive harm to the
                                                           submitter. The per diem rate can be reverse engineered if any other
                                                           unit price and the number of inmates housed in the facility in question
                                                           are known. Therefore, any competitor who knows anyone price
                                                           charged by CCA to BOP need only make an algebraic calculation to
                                                           determine CCA's real prices.
LCS Offer Part II           26            Page 14   b(4)   b(6) was applied on pages 14-15 to redact the date of birth of the
                                          Page 15   b(6)   Chairman of the Board; President; Vice President; Treasurer; and
                                          Page 16          Secretary because disclosure of the date of birth of these officials
                                          Page 17          would constitute a clearly unwarranted invasion of personal privacy.
                                          Page 18
                                          Page 19          b(6) was applied on pages 14-15 to redact the social security number of


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                                                          the Chairman of the Board; President; Vice President; Treasurer; and
                                                          Secretary because disclosure of the place of birth of these officials
                                                          would constitute a clearly unwarranted invasion of personal privacy.

                                                          b(6) was applied on pages 16-19 to redact the account numbers for
                                                          Ford Motor Company; Cingular Wireless; Lamm Food Service, Inc.;
                                                          Office Depot, Inc.; Hibernia National Bank:; Bob Barker Company,
                                                          Inc.; Long's Preferred Products, Inc.; Prison Enterprises; Unisource-
                                                          Baton Rouge; Entergy Solutions; Comdata Corporation; Guidry's
                                                          Uniform; First Insurance Funding Corp.; Grainger; Robinson Textiles;
                                                          Moore Medical Corp.; O'Reilly Auto Parts; Southwest Auto-ChIor
                                                          System, Inc.; City Drug Store, Inc. and South Texas Communications
                                                          because disclosure of the place account numbers would constitute a
                                                          clearly unwarranted invasion of personal privacy as this information
                                                          will allow the possibility of fraud related to those accounts.

McRae (CCA)               247          Page 2     b(4)    b(4) was applied on page 2 to redact the monthly contract price, FIUP,
                                       Page 6     b(7)F   and Award Fee for McRae (CCA) because disclosure of the
                                       Page 144           information would cause competitive harm to the submitter. The
                                       Page 145           monthly contract price, FIUP, and award fee can be reverse engineered
                                       Page 146           if any other unit price and the number of inmates housed in the facility
                                       Page 147           in question are known. Therefore, any competitor who knows anyone
                                       Page 148           price charged by CCA to BOP need only make an algebraic calculation
                                       Page 149           to determine CCA's real prices.
                                       Page 150
                                       Page 151           b(4) was applied on page 6 to redact the incremental unit price (Fixed
                                       Page 152           Price Operation 95% and Incremental Unit Price Per Inmate Day) for
                                       Page 153           Option Periods 1 through 7 for McRae (CCA) because disclosure of
                                       Page 154           the information would cal;lse competitive harm to the submitter. The
                                       Page 155           FIUP can be reverse engineered if any other unit price and the number
                                       Page 156           of inmates housed in the facility in question are known. Therefore, any
                                       Page 157           competitor who knows anyone price charged by CCA to BOP need


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                                 Page 158   only make an algebraic calculation to determine CCA's real prices.
                                 Page 159
                                 Page 160   b(7)(F) was applied on pages 144 - 170 the Technical Design
                                 Page 161   Guidelines (Security Fences and Gates) of as disclosure could
                                 Page 162   reasonably be expected to endanger the life or physical safety of any
                                 Page 163   individuals knowing this information could facilitate escapes by
                                 Page 164   exposing both the strengths and weaknesses of the security of the
                                 Page 165   facility. In order to operate a secure prison facility, it is imperative that
                                 Page 166   inmates or members from the general public are not able to discern the
                                 Page 167   physical requirements of the fences and gates as required by the
                                 Page 168   Bureau of Prisons. The information goes to core mission ofthe Bureau
                                 Page 169   of Prisons of confining inmates in a secure facility.
                                 Page 170
                                 Page 171   b(7)(F) was applied on pages 171 - 173 the Technical Design
                                 Page 172   Guidelines (Barbed Tape) of as disclosure could reasonably be
                                 Page 173   expected to endanger the life or physical safety of any individuals
                                 Page 174   knowing this information could facilitate escapes by exposing both the
                                 Page 175   strengths and weaknesses of the security of the facility. In order to
                                 Page 176   operate a secure prison facility, it is imperative that inmates or
                                 Page 177   members from the general public are not able to discern the physical
                                 Page 178   requirements of the fences and gates as required by the Bureau of
                                 Page 179   Prisons. The information goes to core mission of the Bureau of Prisons
                                 Page 180   of confming inmates in a secure facility.
                                 Page 181
                                 Page 182   b(7)(F) was applied on pages 174 - 175 the Technical Design
                                 Page 183   Guidelines (Perimeter Security System) of as disclosure could
                                 Page 184   reasonably be expected to endanger the life or physical safety of any
                                 Page 185   individuals knowing this information could facilitate escapes by
                                 Page 185   exposing both the strengths and weaknesses of the security of the
                                 Page 186   facility. In order to operate a secure prison facility, it is imperative that
                                 Page 187   inmates or members from the general public are not able to discern the
                                 Page 188   physical requirements of the fences and gates as required by the


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                                Page 189   Bureau of Prisons. The information goes to core mission of the Bureau
                                Page 190   of Prisons of confining inmates in a secure facility.
                                Page 191
                                Page 192   b(7)(F) was applied on page 176 the Technical Design Guidelines
                                Page 193   (Security Door and Hardware Requirements) of as disclosure could
                                Page 194   reasonably be expected to endanger the life or physical safety of any
                                Page 195   individuals knowing this information could facilitate escapes by
                                Page 196   exposing both the strengths and weaknesses of the security of the
                                Page 197   facility. In order to operate a secure prison facility, it is imperative that
                                Page 198   inmates or members from the general public are not able to discern the
                                Page 199   physical requirements of the fences and gates as required by the
                                Page 200   Bureau of Prisons. The information goes to core mission of the Bureau
                                Page 201   of Prisons of confining inmates in a secure facility.
                                Page 202
                                Page 203   b(7)(F) was applied on pages 177 - 191 the Technical Design
                                Page 204   Guidelines (Security Metal Door Frames) of as disclosure could
                                Page 205   reasonably be expected to endanger the life or physical safety of any
                                Page 206   individuals knowing this information could facilitate escapes by
                                Page 207   exposing both the strengths and weaknesses of the security of the
                                Page 208   facility. In order to operate a secure prison facility, it is imperative that
                                Page 209   inmates or members from the general public are not able to discern the
                                Page 210   physical requirements of the fences and gates as required by the
                                Page 211   Bureau of Prisons. The information goes to core mission of the Bureau
                                Page 212   of Prisons of confining inmates in a secure facility.
                                Page 213
                                Page 218   b(7)(F) was applied on pages 192-206 the Technical Design Guidelines
                                Page 219   (Detention Hardware) of as disclosure could reasonably be expected to
                                Page 220   endanger the life or physical safety of any individuals knowing this
                                           information could facilitate escapes by exposing both the strengths and
                                           weaknesses of the security of the facility. In order to operate a secure
                                           prison facility, it is imperative that inmates or members from the
                                           general public are not able to discern the physical requirements of the



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                                     fences and gates as required by the Bureau of Prisons. The information
                                     goes to core mission of the Bureau of Prisons of confining inmates in a
                                     secure facility.


                                     b(7)(F) was applied on pages 207-208 the Technical Design Guidelines
                                     (Security Access Doors) of as disclosure could reasonably be expected
                                     to endanger the life or physical safety of any individuals knowing this
                                     information could facilitate escapes by exposing both the strengths and
                                     weaknesses of the security of the facility. In order to operate a secure
                                     prison facility, it is imperative that inmates or members from the
                                     general public are not able to discern the physical requirements of the
                                     fences and gates as required by the Bureau of Prisons. The information
                                     goes to core mission of the Bureau of Prisons of confining inmates in a
                                     secure facility.

                                     b(7)(F) was applied on pages 209-213 the Technical Design Guidelines
                                     (Secure Construction Requirements) of as disclosure could reasonably
                                     be expected to endanger the life or physical safety of any individuals
                                     knowing this information could facilitate escapes by exposing both the
                                     strengths and weaknesses of the security of the facility. In order to
                                     operate a secure prison facility, it is imperative that inmates or
                                     members from the general public are not able to discern the physical
                                     requirements of the fences and gates as required by the Bureau of
                                     Prisons. The information goes to core mission of the Bureau of Prisons
                                     of confining inmates in a secure facility.

                                     b(7)(F) was applied on pages 218 - 220 the Guidelines For Weapons
                                     Inventory of as disclosure could reasonably be expected to endanger
                                     the life or physical safety of any individuals knowing this information
                                     could facilitate escapes by exposing both the strengths and weaknesses
                                     of the security of the facility. In order to operate a secure prison


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                                                           facility, it is imperative that inmates or members from the general
                                                           public are not able to discern what weapons are maintained by the
                                                           Bureau of Prisons, the location of the weapons, and the capacity of the
                                                           weapons. The information goes to core mission of the Bureau of
                                                           Prisons of confining inmates in a secure facility and to prevent escape.
MTC Offer Part I            26            Page 24   b(6)   b(6) was applied on pages 24-26 to redact the date of birth ofthe
                                          Page2S           President and CEO; Sr. Vice President, Chief Financial Officer,
                                          Page 26          Secretary-Treasurer; Sr, Vice President Corrections; Sr. Vice
                                                           President, Training Programs; Vice President Human Resources; Vice
                                                           President and General Counsel; Vice President, Contract
                                                           Administration; Vice President, Texas Region Operations; Vice
                                                           President, Development; Vice President Eastern Region; Vice
                                                           President, Government & Community Relations; Vice President,
                                                           Corrections-Region l; Vice President, Corrections-Marketing; Vice
                                                           President, Information Systems; and Vice President, Program
                                                           Development, Training & Support because disclosure of the date of
                                                           birth ofthese officials would constitute a clearly unwarranted invasion
                                                           of personal privacy.

                                                           b(6) was applied on page 24-26 to redact the social security number of
                                                           the President and CEO; Sr. Vice President, Chief Financial Officer,
                                                           Secretary-Treasurer; Sr, Vice President Corrections; Sr. Vice
                                                           President, Training Programs; Vice President Human Resources; Vice
                                                           President and General Counsel; Vice President, Contract
                                                           Administration; Vice President, Texas Region Operations; Vice
                                                           President, Development; Vice President Eastern Region; Vice
                                                           President, Government & Community Relations; Vice President,
                                                           Corrections-Region 1; Vice President, Corrections-Marketing; Vice
                                                           President, Information Systems; and Vice President, Program
                                                           Development, Training & Support because disclosure of the place of
                                                           birth of these officials would constitute a clearly unwarranted invasion
                                                           of personal privacy.


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MTC Offer Part I            33            Page 4   b(4)   b(4) was applied on page 4 to redact the account numbers for Dunn &
                                                          Bradstreet; Wells Fargo Bank; Federal Express, Inc.; Great Western
                                                          Business Forms; Corporate Express; and Dingman Professional
                                                          Printing because disclosure of the place account numbers would
                                                          constitute a clearly unwarranted invasion of personal privacy as this
                                                          information will allow the possibility of fraud related to those
                                                          accounts.
Reeves County CAR 6,        62           Page 19   b(6)   b(6) was applied on page 19 to redact the date of birth ofthe Reeves
Part VI                                                   County Judge; Commissioner Prescient # 1; Commissioner Prescient
                                                          #2; Commissioner Prescient #3 and Commissioner Prescient #4
                                                          because disclosure of the date of birth of these officials would
                                                          constitute a clearly unwarranted invasion of personal privacy.

                                                          b(6) was applied on page 19 to redact the social security number of the
                                                          Reeves County Judge; Commissioner Prescient # 1; Commissioner
                                                          Prescient #2; Commissioner Prescient #3 and Commissioner Prescient
                                                          #4 because disclosure of the date of birth of these officials would
                                                          constitute a clearly unwarranted invasion of personal privacy.
Reeves County CAR 6,       41            Page 9    b(6)   b(6) was applied on page 9 to redact the date of birth ofthe Chairman
Part VII                                                  and CEO; Vice President & COO; General Counsel; Senior Vice
                                                          President, Operations; Senior Vice President, Mental Health Services;
                                                          Senior Vice President, CFO; and Treasurer because disclosure of the
                                                          date of birth ofthese officials would constitute a clearly unwarranted
                                                          invasion of personal privacy.

                                                          b(6) was applied on page 9 to redact the social security number ofthe
                                                          Chairman and CEO; Vice President & COO; General Counsel; Senior
                                                          Vice President, Operations; Senior Vice President, Mental Health
                                                          Services; Senior Vice President, CFO; and Treasurer because
                                                          disclosure of the date of birth of these officials would constitute a
                                                          clearly unwarranted invasion of personal privacy.
Reeves County CAR 6        460           Page 64   b(6)   b(6) was applied on page 64 to redact the date of birth of the Reeves


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Offer and Other                            Page 301             County Judge; Commissioner Prescient # 1; Commissioner Prescient
                                                                #2; Commissioner Prescient #3 and Commissioner Prescient #4
                                                                because disclosure of the date of birth of these officials would
                                                                constitute a clearly unwarranted invasion of personal privacy.

                                                                b(6) was applied on page 64 to redact the social security number of the
                                                                Reeves County Judge; Commissioner Prescient # 1; Commissioner
                                                                Prescient #2; Commissioner Prescient #3 and Commissioner Prescient
                                                                #4 because disclosure ofthe date of birth of these officials would
                                                                constitute a clearly unwarranted invasion of personal privacy.

                                                                b(6) was applied on page 301 to redact the date of birth ofthe
                                                                Chairman and CEO; Vice President & COO; General Counsel; Senior
                                                                Vice President, Operations; Senior Vice President, Mental Health
                                                                Services; Senior Vice President, CFO; and Treasurer because
                                                                disclosure of the date of birth of these officials would constitute a
                                                                clearly unwarranted invasion of personal privacy.

                                                                b(6) was applied on page 301 to redact the social security number of
                                                                the Chairman and CEO; Vice President & COO; General Counsel;
                                                                Senior Vice President, Operations; Senior Vice President, Mental
                                                                Health Services; Senior Vice President, CFO; and Treasurer because
                                                                disclosure of the date of birth of these officials would constitute a
                                                                clearly unwarranted invasion of personal privacy.


Big Springs (Physical       12            Page 6      b(7)(F)   b(7)(F) was applied on pages 6-7 related to the Master Control Room
Plant)                                    Page 7                (Surveillance Equipment) as disclosure could reasonably be expected
                                          Page 9                to endanger the life or physical safety of any individuals knowing this
                                                                information could facilitate escapes by identifying the surveillance
                                                                equipment and how it is used and where it is used in the facility.
                                                                Additionally, by knowing the staffing of the Master Control Room will


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                                                            reveal the both the strengths and weaknesses of the security of the
                                                            facility. In order to operate a secure prison facility, it is imperative that
                                                            inmates or members from the general public are not able to discern
                                                            how surveillance equipment is used within the institution as the Master
                                                            Control Room serves as the central monitoring system for the
                                                            correctional institution.

                                                            b(7)(F) was applied on page 9 related to the SHU concerning access to
                                                            the unit as disclosure could reasonably be expected to endanger the life
                                                            or physical safety of any individuals knowing this information could
                                                            endanger the safety of staff and facilitate escapes by identifying which
                                                            staff members control the access to this unit. As the SHU is an even
                                                            more secure portion of a correctional facility, usually housing inmates
                                                            charged with significant disciplinary infractions or inmates warranting
                                                            extra security, knowing who controls access to the SHU will allow
                                                            inmates, specifically, and members of the general public, generally, to
                                                            understand the security features of the correctional facility.
MTC CAR VI Tab G            1            Page 1   b(7)(F)   b(7)(F) was applied on page 1to the MTC Physical Plant (Armory) as
                                                            disclosure could reasonably be expected to endanger the life or
                                                            physical safety of any individuals knowing this information could
                                                            facilitate escapes by exposing both the strengths and weaknesses of the
                                                            security of the facility. In order to operate a secure prison facility, it is
                                                            imperative that inmates or members from the general public are not
                                                            able to discern access points to weapons storage areas or any possible
                                                            deficiencies which may make such areas vulnerable to a breach.
                                                            Maintaining weapons in a secure area is a both a primary and
                                                            secondary security measure of a correctional facility. The information
                                                            goes to core mission ofthe Bureau of Prisons of confining inmates in a
                                                            secure facility and to prevent escape.
MTCCAR VI                  6             Page 5   b(6)      b( 6) was applied on page 5 to redact the home telephone number of
Attachment C (Resumes)                                      Larry J. Rasbeary because disclosure of home telephone of Mr.
                                                            Rasbeary would constitute a clearly unwarranted invasion of personal


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                                                            pnvacy.
LCS Pine Prairie            4            Page 1   b(7)(F)   b(7)(F) was applied on page 1 to the LCS Pine Prairie Physical Plant
(Attachment 6)                           Page 2             (Blue Print) as disclosure could reasonably be expected to endanger the
                                         Page 3             life or physical safety of any individuals knowing this information
                                         Page 4             could facilitate escapes by providing a physical layout of key areas of
                                                            the facility which may expose both the strengths and weaknesses of the
                                                            security of the facility. In order to operate a secure prison facility, it is
                                                            imperative that inmates or members from the general public are not
                                                            able to discern access points to areas or any possible deficiencies
                                                            which may make such areas vulnerable to a breach. The information
                                                            goes to core mission of the Bureau of Prisons of confining inmates in a
                                                            secure facility and to prevent escape.

                                                            b(7)(F) was applied on page 2 to the LCS Pine Prairie Physical Plant
                                                            (Annory) as disclosure could reasonably be expected to endanger the
                                                            life or physical safety of any individuals knowing this information
                                                            could facilitate escapes by exposing both the strengths and weaknesses
                                                            of the security of the facility. In order to operate a secure prison
                                                            facility, it is imperative that inmates or members from the general
                                                            public are not able to discern access points to weapons storage areas or
                                                            any possible deficiencies which may make such areas vulnerable to a
                                                            breach. Maintaining weapons in a secure area is a both a primary and
                                                            secondary security measure of a correctional facility. The information
                                                            goes to core mission of the Bureau of Prisons of confining inmates in a
                                                            secure facility and to prevent escape.

                                                            b(7)(F) was applied on page 3 to the LCS Pine Prairie Physical Plant
                                                            (Annory) as disclosure could reasonably be expected to endanger the
                                                            life or physical safety of any individuals knowing this information
                                                            could facilitate escapes by exposing both the strengths and weaknesses
                                                            of the security of the facility. In order to operate a secure prison
                                                            facility, it is imperative that inmates or members from the general


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                                                          public are not able to discern access points to weapons storage areas or
                                                          any possible deficiencies which may make such areas vulnerable to a
                                                          breach. Maintaining weapons in a secure area is a both a primary and
                                                          secondary security measure of a correctional facility. The information
                                                          goes to core mission ofthe Bureau of Prisons of confining inmates in a
                                                          secure facility and to prevent escape.

                                                          b(7)(F) was applied on page 4 to the LCS Pine Prairie Physical Plant
                                                          (Armory) as disclosure could reasonably be expected to endanger the
                                                          life or physical safety of any individuals knowing this information
                                                          could facilitate escapes by exposing both the strengths and weaknesses
                                                          of the security of the facility. In order to operate a secure prison
                                                          facility, it is imperative that inmates or members from the general
                                                          public are not able to discern access points to weapons storage areas or
                                                          any possible deficiencies which may make such areas vulnerable to a
                                                          breach. Maintaining weapons in a secure area is a both a primary and
                                                          secondary security measure of a correctional facility. The information
                                                          goes to core mission of the Bureau of Prisons of confining inmates in a
                                                          secure facility and to prevent escape.
LCS Pine Prairie A          46           Page 30   b(6)   b(6) was applied on page 30 to redact the inmate numbers as these
(Supplemental                            Page 32          numbers were associated with specific inmate financial account
Information)                             Page 35          information and such disclosure would constitute a clearly unwarranted
                                         Page 36          invasion of personal privacy.
                                         Page 37
                                         Page 39          b(6) was applied on page 32 to redact the inmate numbers and names
                                         Page 40          as this information was associated with specific inmate financial
                                                          account information and such disclosure would constitute a clearly
                                                          unwarranted invasion of personal privacy.

                                                          b(6) was applied on page 35 to redact the inmate numbers and names
                                                          as this information was associated with specific inmate financial
                                                          account information and such disclosure would constitute a clearly


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                                                            unwarranted invasion of personal privacy.

                                                            b(6) was applied on page 36 to redact the inmate numbers and names
                                                            as this infonnation was associated with specific inmate financial
                                                            account infonnation and such disclosure would constitute a clearly
                                                            unwarranted invasion of personal privacy.

                                                            b(6) was applied on page 37 to redact the inmate numbers and names
                                                            as this infonnation was associated with specific inmate financial
                                                            account infonnation and such disclosure would constitute a clearly
                                                            unwarranted invasion of personal privacy.

                                                            b(6) was applied on page 39 to redact the inmate numbers as these
                                                            numbers were associated with specific inmate financial account
                                                            infonnation and such disclosure would constitute a clearly unwarranted
                                                            invasion of personal privacy.

                                                            b(6) was applied on page 40 to redact the inmate name as the name
                                                            was associated with specific inmate financial account infonnation and
                                                            such disclosure would constitute a clearly unwarranted invasion of
                                                            personal privacy.
LCS Pine Prairie B          8            Page 5   b(7)(F)   b(7)(F) was applied on pages 5-6 related to LCS Pine prairie perimeter
(Physical Plant)                         Page 6             security, surveillance equipment, motion detectors, door position
                                                            indicators, contained walkways, guard towers, secure entry points,
                                                            secure sallyports, and security construction features as disclosure could
                                                            reasonably be expected to endanger the life or physical safety of any
                                                            individuals knowing this infonnation could facilitate escapes by
                                                            identifying the surveillance equipment and how it is used and where it
                                                            is used in the facility. Additionally, by knowing the security features
                                                            of a correctional facility will reveal the both the strengths and
                                                            weaknesses of the security of the facility. In order to operate a secure
                                                            prison facility, it is imperative that inmates or members from the


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                                                             general public are not able to specifically discern the security features
                                                             used within the institution, albeit they may be able to discern some
                                                             security requirements by general observation.
LCS Pine Prairie B          21           Page 1    b(7)(F)   b(7)(F) was applied on pages 1-8 to the LCS Pine Prairie Physical
(Supplemental                            Page 2              Plant (Blue Print and Staffing Patterns) as disclosure could reasonably
Information)                             Page 3              be expected to endanger the life or physical safety of any individuals
                                         Page 4              knowing this information could facilitate escapes by providing a
                                         Page 5              physical layout of key areas ofthe facility which may expose both the
                                         Page 6              strengths and weaknesses of the security of the facility. In order to
                                         Page 7              operate a secure prison facility, it is imperative that inmates or
                                         Page 8              members from the general public are not able to discern access points
                                                             to areas or any possible deficiencies which may make such areas
                                                             vulnerable to a breach. Key to the security is the staffing patterns
                                                             related to the physical plant. The information goes to core mission of
                                                             the Bureau of Prisons of confining inmates in a secure facility and to
                                                             prevent escape.
Reeves County I &II         81           Page 36   b(7)(F)   b(7)(F) was applied on pages 33-37 to the Reeves County I&II
CD-2A,2b.l                               Page 37             firearms, chemical agents, and specialty munitions as disclosure could
                                         Page 82             reasonably be expected to endanger the life or physical safety of any
                                                             individuals knowing this information could facilitate escapes by
                                                             exposing both the strengths and weaknesses of the security of the
                                                             facility. In order to operate a secure prison facility, it is imperative that
                                                             inmates or members from the general public are not specifically aware
                                                             of the weapons requirements and availability at an institution because
                                                             such would defeat the calculated use of force that is oftentimes needed
                                                             in a correctional setting. Maintaining weapons is both a primary and
                                                             secondary security measure of a correctional facility. The information
                                                             goes to core mission ofthe Bureau of Prisons of confining inmates in a
                                                             secure facility and to prevent escape.
Reeves County I&II          12           Page 1    b(7)(F)   b(7)(F) was applied on pages 1-12 to redact the architectural drawings
CAR 6(Drawings)                          Page 2              showing housing units designs and layouts for Reeves County I&II as
                                         Page 3              disclosure could reasonably be expected to endanger the life or


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                                         Page 4               physical safety of any individuals knowing this information could
                                         Page 5               facilitate escapes by exposing both the strengths and weaknesses of the
                                         Page 6               security of the facility.
                                         Page 7
                                         Page 8
                                         Page 9
                                         Page 10
                                         Page 11
                                         Page 12
Reeves County I&II          288          Page 59    b(7)(F)   b(7)(F) was applied on page 59 to redact the architectural drawings
CAR 6(Environmental)                     Page 120             showing housing units designs and layouts for Reeves County I&II as
                                                              disclosure could reasonably be expected to endanger the life or
                                                              physical safety of any individuals knowing this information could
                                                              facilitate escapes by exposing both the strengths and weaknesses of the
                                                              security of the facility.

                                                              b(7)(F) was applied on pages 120 to redact the architectural drawings
                                                              showing housing units designs and layouts for Reeves County I&II as
                                                              disclosure could reasonably be expected to endanger the life or
                                                              physical safety of any individuals knowing this information could
                                                              facilitate escapes by exposing both the strengths and weaknesses of the
                                                              security of the facility.

Reeves County I&II         403           Page 255   b(6)      b(6) was applied on page 255 to redact the date of birth ofthe Reeves
CAR 6(Volume 1)                          Page 307             County Judge; Commissioner Prescient # 1; Commissioner Prescient
                                                              #2; Commissioner Prescient #3 and Commissioner Prescient #4
                                                              because disclosure ofthe date of birth ofthese officials would
                                                              constitute a clearly unwarranted invasion of personal privacy_

                                                              b(6) was applied on page 255 to redact the social security number of
                                                              the Reeves County Judge; Commissioner Prescient # 1; Commissioner
                                                              Prescient #2; Commissioner Prescient #3 and Commissioner Prescient


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                                                             #4 because disclosure of the date of birth of these officials would
                                                             constitute a clearly unwarranted invasion of personal privacy.

                                                             b(6) was applied on page 307 to redact the date of birth ofthe
                                                             Chainnan and CEO; Vice President & COO; General Counsel; Senior
                                                             Vice President, Operations; Senior Vice President, Mental Health
                                                             Services; Senior Vice President, CFO; and Treasurer because
                                                             disclosure of the date of birth of these officials would constitute a
                                                             clearly unwarranted invasion of personal privacy.

                                                             b(6) was applied on page 307 to redact the social security number of
                                                             the Chainnan and CEO; Vice President & COO; General Counsel;
                                                             Senior Vice President, Operations; Senior Vice President, Mental
                                                             Health Services; Senior Vice President, CFO; and Treasurer because
                                                             disclosure ofthe date of birth of these officials would constitute a
                                                             clearly unwarranted invasion of personal privacy.
Reeves County I&II          44           Page 20   b(7)(F)   b(7)(F) was applied on pages 20-26 to redact the architectural drawings
CAR 6(Volume                             Page 21             showing housing units designs and layouts for Reeves County I&II as
lib/Physical Plant)                      Page 22             disclosure could reasonably be expected to endanger the life or
                                         Page 23             physical safety of any individuals knowing this infonnation could
                                         Page 24             facilitate escapes by exposing both the strengths and weaknesses of the
                                         Page 25             security of the facility.
                                         Page 26
                                         Page 27             b(7)(F) was applied on pages 26-29 related to Reeves County I&II
                                         Page 28             perimeter security, linear detection sensors, volumetric sensors, CCTV
                                         Page 29             systems, donnitory control systems, and SHU control systems as
                                         Page 35             disclosure could reasonably be expected to endanger the life or
                                         Page 36             physical safety of any individuals knowing this infonnation could
                                         Page 37             facilitate escapes by identifying the surveillance equipment and how it
                                         Page 38             is used and where it is used in the facility. Additionally, by knowing
                                         Page 39             the security features of a correctional facility will reveal the both the
                                         Page 40             strengths and weaknesses of the security of the facility. In order to


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                                         Page 41              operate a secure prison facility, it is imperative that inmates or
                                         Page 42              members from the general public are not able to specifically discern
                                         Page 43              the security features used within the institution, albeit they may be able
                                         Page 44              to discern some security requirements by general observation.

                                                              b(7)(F) was applied on pages 35-44to redact the architectural drawings
                                                              showing housing units designs and layouts and institution layouts for
                                                              Reeves County I&II as disclosure could reasonably be expected to
                                                              endanger the life or physical safety of any individuals knowing this
                                                              information could facilitate escapes by exposing both the strengths and
                                                              weaknesses of the security of the facility.


Reeves County CAR VI        500          Page I     b(6)      b(6) was applied on pages 1-6 to redact the inmate numbers and names
(Volume III)                             Page 2               as this information was associated with specific inmate financial
                                         Page 3               account information and such disclosure would constitute a clearly
                                         Page 4               unwarranted invasion of personal privacy.
                                         Page 5
                                         Page 6
Reeves County I&II EA      283           Page 56    b(7)(F)   b(7)(F) was applied on pages 56 and 116 to redact the architectural
                                         Page 116             drawings showing housing units designs and layouts and institution
                                                              layouts for Reeves County I&II as disclosure could reasonably be
                                                              expected to endanger the life or physical safety of any individuals
                                                              knowing this information could facilitate escapes by exposing both the
                                                              strengths and weaknesses of the security of the facility.




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